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 6                       IN THE UNITED STATES DISTRICT COURT
 7                                FOR THE DISTRICT OF ARIZONA
 8
 9    Lorrie Amitrano,                                  No. CV-23-00144-TUC-JGZ
10                   Plaintiff,                         ORDER
11    v.
12    UnitedHealth Group,
13                   Defendant.
14
15            This matter was referred to Magistrate Judge D. Thomas Ferraro for the purpose of
16   holding a settlement conference. (Doc. 68.) A settlement conference was held and the

17   parties reached a settlement. (Doc. 71, 76.) Thereafter, the parties were unable to reach an
18   agreement regarding the terms of a proposed order dismissing the case. (Doc. 77.) The

19   parties requested that the Magistrate Judge assist them in resolving the dispute. (Id.)

20            On April 8, 2024, Magistrate Judge Ferraro issued a Report and Recommendation
21   recommending that the district court enter the form of order attached as Exhibit B. (Doc.
22   77 at 4.) The Parties were directed to file any objections within fourteen days of the Report

23   and Recommendation. (Id. at 1-2.) Neither party objected. Accordingly,

24   //

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       Case 4:23-cv-00144-JGZ Document 79 Filed 04/25/24 Page 2 of 2



 1         IT IS ORDERED this Court adopts the Report and Recommendation of Magistrate
 2   Judge D. Thomas Ferraro. (Doc. 77.) The Court will enter the form of order attached to the
 3   Report and Recommendation as Exhibit B. (Id. at 4.)
 4         Dated this 25th day of April, 2024.
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